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                                                        UNITED STATES DISTRICT COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
Jennifer Jones                                                                           CASE NUMBER

                                                                                                                         2:15-08489
                                                                      PLAINTIFF(S)
                                          v.
Virtuoso Sourcing Group, LLC
                                                                                                NOTICE OF INTRA-DISTRICT TRANSFER
                                                                                                        BY CLERK OF COURT
                                                                    DEFENDANT(S).


  To:          All Counsel Appearing of Record

        Due to clerical error, this case was improperly assigned to the                  Western       Southern       Eastern Division of this District.
        Pursuant to General Order 14-03 this case is hereby transferred to the                      Western     Southern       Eastern
        Division for all further proceedings.

        Case was opened in the CM/ECF System by counsel, and provisionally assigned to a division of this Court. After review of the
        pleadings, pursuant to the General Orders of the Court, this case is hereby transferred to the
               Western       Southern            Eastern Division.

        This case has been reassigned to case number                            5:15-cv-02238             and has been       assigned       reassigned to
        Judge                 Otis D. Wright, II                     for all further proceedings.

        Any matters that are or may be referred to a Magistrate Judge are hereby                     assigned       reassigned to
        Magistrate Judge                     David T. Bristow                   for:
               any discovery and/or post-judgment matters that may be referred.
               for all proceedings in accordance with General Order 05-07.

        All documents filed in this case must reflect the new case number and newly assigned Judge/Magistrate Judge initials so that the new
        case number will read:            5:15-cv-02238-ODW (DTBx)                 . This is very important because any documents presented to the Clerk
        for filing in paper format are routed by the initials.




                                                                                       Clerk, U.S. District Court
                                                                                        By: Estrella_Tamayo@cacd.uscourts.gov
                                                                                             Deputy Clerk

cc: Previously assigned Judge/Magistrate Judge; Deputy-In-Charge;
Intake Coordinator; Statistics Clerk

G-73 (06/14)                                          NOTICE OF INTRA-DISTRICT TRANSFER BY CLERK OF COURT
